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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA

                                                        JUDGMENT IN A CIVIL CASE
Daniel Small, et al.                                    for ATTORNEY FEES

                                Plaintiff,
         v.                                            Case Number: 2:13-cv-00298-APG-BNW
University Medical Center of Southern
Nevada, et al.

                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
that judgment is entered in favor of the Plaintiffs and against the Defendants as follows:

Plaintiffs’ Counsel attorneys’ fees in the amount $1,214,107.00 plus the previously awarded $570,885.00
Sanction Award, and reimbursement of Plaintiffs’ Counsel’s reasonable out-of pocket expenses in the
amount of $603,728.39 in addition to approving the $13,500 in claims administration expenses.




          5/29/2019
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s. A. Reyes
                                                             Deputy Clerk
